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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA



  UNITED STATES OF AMERICA

  vs.

  KISHA SINGLETARY,

               Defendant.

  -------------------------'
                                 CRIMINAL COVER SHEET


  1.    Did this matter originate from a matter pending in the Northern Region of the United
        States Attorney's Office prior to October 14, 2003?         Yes    _x_ No
  2.    Did this matter originate from a matter pending in the Central Region of the United States
        Attorney's Office prior to September 1, 2007?             Yes ___x__ No


                                             Respectfully submitted,

                                             WIFREDO A. FERRER
                                             UNITED STATES ATTORNEY


                                      BY:             !vM
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 AO 91 (Rev. 08/09) Criminal Complaint


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                   Southern District of Florida

                  United States of America                          )
                                v.                                  )
                                                                    )
                    KISHA SINGLETARY                                )
                                                                    )
                                                                    )
                            Defendant(s)


                                                    CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 April 1~..... ~014              in the county of _____ Mi.~llli-Dade                 in the
__So_y_th~ITL ___ District of              Florida              , the defendant(s) violated:

             Code Section                                                     Offense Description

 18 u.s.c. § 1591                            Sex Trafficking of Children, that is, in and affecting interstate and foreign
                                             commerce, to recruit, entice, harbor, transport, provide, obtain and maintain
                                             by any means a person, knowing or in reckless disregard of the fact that the
                                             person has not attained the age of 18 years and will be caused to engage in·
                                             a commercial sex act.




          This criminal complaint is based on these facts:
See attached affidavit.




          ~ Continued on the attached sheet.


                                                                           --~~F.~~
                                                                              Complainant's signature

                                                                                    Susan F. Romash, FBI Special Agent ____________ _
                                                                                               Printed name and Iitle

Sworn to before me and signed in my presence.




City and state:      ------'M=ia"-'m"'"i,_EIQdQ~------------                  Han. Jonathan Goodman, U.S. Ma_g§_trate Judge
                                                                           -·---               Printed name and iilli-   ----------- -
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                        SEALED AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

          I, Susan F. Romash, a Special Agent with the Federal Bureau of Investigation (FBI),

   United States Department of Justice, having been first sworn, hereby state as follows:

                                     AFFIANT'S BACKGROUND

          1.        I have been a Special Agent with the FBI since November of 2009.            I am

  currently assigned to the Miami Field Office of the FBI, and I am a member of the Minor Vice

  Task Force (MVTF) in South Florida. The MVTF is comprised of state, local, and federal law

  enforcement which includes the City of Miami Police Department (MPD), Miami-Dade Police

  Department (MDPD), Miami Beach Police Department (MBPD), the City of Fort Lauderdale

  Police Department (FLPD), and the Broward Sheriffs Office (BSO), whose purpose is to address

  the Department of Justice's "Innocence Lost National Initiative." As such, I am an investigative

  or law enforcement officer of the United States within the meaning of Section 251 0(7) of Title

   18 ofthe United States Code. That is, I am an officer of the United States, who is empowered by

  law to conduct investigations of, and make arrests for, offenses enumerated in Title 18 of the

  United States Code.

          2.        My current duties include the investigation of violent crimes, including offenses

  involving sex trafficking of children, in violation of Title 18, United States Code, Section 1591;

  enticing a minor to engage in prostitution, in violation of Title 18, United States Code, Section

  2422(b); as well as offenses involving transportation for purposes of prostitution, in violation of

  Title 18, United States Code, Section 2421. Prior to being assigned to the MVTF, I was assigned

  to a Public Corruption/Civil Rights squad that handled, among other things, human trafficking

  investigations.
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                                PURPOSE OF THE AFFIDAVIT

         3.      This affidavit sets forth probable cause in support of the attached criminal

  complaint charging Kisha SINGLETARY with Sex Trafficking of Minors, in violation of Title

   18, United States Code, Section 1591 and 2. The facts in this affidavit are based upon my

  personal knowledge, as well as knowledge, information, and documentation that I obtained from

  other law enforcement officers and witnesses. Since this affidavit is being submitted for the

  limited purpose of establishing probable cause for the requested warrant, it does not include

  every fact known to me about this matter.

                        FACTS IN SUPPORT OF PROBABLE CAUSE

                                        Statements of C.H.

         4.      On April 15, 2014, during the course of an investigation involving the potential

  prostitution of a minor in the area of a motel located on Biscayne Boulevard in Miami, Florida.

  The FBI, along with the City of Miami Police Department (MPD) and the Miami-Dade Police

  Department (MDPD), received information that another minor female was also residing in the

  motel. The information specifically stated that the minor was residing in Room 62 of the motel.

  In response to this information, law enforcement conducted a knock-and-talk on Room 62 and

  observed minor female C.H., SINGLETARY, and two adult males (hereinafter JOHN #1 and

  JOHN #2) all inside Room 62.     All four individuals inside the motel room were transported to

  the MPD headquarters station, located at 400 NW 2"d Avenue, Miami, Florida, where they were

  subsequently interviewed by law enforcement. Law enforcement also conducted a follow-up

  interview of C.H. on April 17, 2014.        During the interviews, C.H. provided the following

  information:



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               a.        C.H., is a twelve year old female, who previously resided in North Miami,

        Florida with her mother and siblings. Approximately three to four weeks prior to April

        15, C.H. ran away from her home and was approached by a female named "China" while

        C.H. was at a convenience store. "China" introduced C.H. to prostitution through the

        website known as Backpage.com. C.H. prostituted for "China" for approximately one to

        two weeks.

               b.        C.H. then left "China" and went to a friend's residence.    While at the

        friend's residence, C.H. reached out to SINGLETARY, who was known to C.H. as

        "Kay," through the website Facebook.com.        According to C.H., SINGLETARY had

        initially contacted C.H. through Facebook a few weeks before to ask if C. H. wanted to

        "work" for SINGLETARY. While at her friend's residence, C.H. asked SINGLETARY

        through Facebook if she could still "work" for SINGLETARY, and C.H. asked if

        SINGLETARY would come and get C.H. from her friend's house.                  In response,

        SINGLETARY agreed to pick up C.H., and they decided on a location to meet.

               c.        When SINGLETARY arrived to pick up C.H., SINGLETARY's

        boyfriend was also present and driving the vehicle. SINGLETARY and her boyfriend

        drove C.H. to the motel on Biscayne Boulevard, where SINGLETARY's boyfriend

        rented Room 62 for SINGLETARY and C.H.

               d.        Upon their arrival in the motel room, SINGLETARY took photographs of

        C.H. in her bra and underwear. SINGLETARY used a cellular telephone to take the

        photographs of C.H. SINGLETARY then posted photographs of C.H. on the website

        Backpage.com. SINGLETARY used the name ••Kiwi" for C.H. on the Backpage.com

        advertisement.

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               e.     Shortly after the advertisement was posted on Backpage.com, clients

        began to come to the motel room in order to have sex with C.H. SINGLETARY advised

        C.H. on the amounts to charge the clients for different sexual acts. C.H. recalled the

        amounts of money charged differed depending on whether the client wanted oral sex,

        sexual intercourse, or to spend the entire night with C.H. According to C.H., she saw

        clients from approximately 6 a.m. to 6 p.m. each day. When a client came to the room to

        have sex with C.H., SINGLETARY would leave the room and wait in another motel

        room, which belonged to a drug dealer C.H. only knew as "Pow Pow." C.H. gave all of

        the money she earned, with the exception oftips, to SINGLETARY. lfC.H. did not earn

        enough money each day, C.H. would have to perform oral sex on SINGLETARY.

               f.     According to C.H., SINGLETARY had numerous other young females

        who also prostituted for SINGLETARY. C.H. advised that SINGLETARY preferred

        younger females, and knew that C.H. was twelve years old.        C.H. also stated that

        SINGLETARY obtained illegal substances from the other motel resident, "Pow Pow,"

        and provided the substances to C.H. and the other females. C.H. stated that the illegal

        substances included "mollies" and marijuana.

               g.     C.H. stated that she had been working for SINGLETARY for

        approximately one week prior to when she was recovered by law enforcement on April

        15, 2014.   C.H. stated that the two adult males in the motel room with C.H. and

        SINGLETARY when law enforcement arrived were clients, and she believed that they

        had paid SINGLETARY for C.H. to perform oral sex on them.




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                                         Backpage Advertisement

        5.      Law enforcement located two advertisements for C.H. under the escort section of

        the website Backpage.com dated April 13, 2014 and April 14, 2014. The advertisement

        revealed photographs of C ..H. wearing her bra and underwear, and identified C.H. by the

        name "Kiwi." The location information provided for the advertisement was North Miami

        or Miami Shores. The telephone number associated with the advertisement was (786)

        663-6818.

                                          Interview of Singletary

        6.      On April 15, 2014, SINGLETARY provided the following information to law .

        enforcement:

               a.      SINGLETARY stated that she met C.H. approximately four months prior

        through Facebook.       C.H. used the Facebook account name "Low'Key Kerria."

        SINGLETARY and C.H. communicated for a few months though Facebook, until

        recently, when C.H. told SINGLETARY that C.H. needed a place to Jive and asked to

        live with SINGLETARY. SINGLETARY agreed to meet C.H. at a location in Miami, so

        that she and C. H. could live together.

               b.      SINGLETARY rented a room at the motel on Biscayne Boulevard for

        herself and C.H. Shortly thereafter, C.H. began to prostitute herself out of the motel

        room. SINGLETARY assisted C.H. with the prostitution, whereby she took photographs

        of C.H. wearing a bra and underwear for the purpose of posting the photographs on the

        website Backpage.com. SINGLETARY also provided C.H. with a cellular telephone,

        phone number (786) 663-6818, so that C.H. could set up dates with clients.



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        SINGLETARY also provided C.H. with an iPhone for personal use. C.H. was required

        to pay SINGLETARY one hundred dollars for the use of the iPhone.

                                        Interview of John #1

        7.     On April 15, 2014, JOHN #I provided the following information to law

        enforcement:

               a.      JOHN #I stated that he met "Kay" (identified by law enforcement as

        SINGLETARY) one evening at a gas station. The two went home together that night,

        and then JOHN #1 didn't see SINGLETARY again for a while. Then, on April15, 2014,

        SINGLETARY called JOHN #1 and asked him for a ride to the store. JOHN #1 agreed

        to give SINGLETARY a ride, but since he did not know SINGLETARY that well, JOHN

        #1 asked his friend, JOHN #2, to ride with him to SINGLETARY's home.

        SINGLETARY resided at the motel on Biscayne Boulevard at the time.        When they

        arrived at the motel, there was another female in SINGLETARY's room (later identified

        by law enforcement as C.H.). JOHN #1, JOHN #2, SINGLETARY, and C.H. proceeded

        to smoke marijuana together, and then JOHN #1 and JOHN #2 took SINGLETARY to a

        store at a nearby gas station. JOHN #1 believed that SINGLETARY was going to pay

        for his gas since he drove her to the store; however, while at the gas station,

        SINGLETARY told JOHN #1 that instead of SINGLETARY paying for the gas, JOHN

        #1 and JOHN #2 could have sex with C.H.

              b.       When they arrived back at the motel room, JOHN #1 went into the

        bathroom with C.H.   JOHN #1 stated he intended to have sex with C.I-1.; however, he

        couldn't function properly because C.H. was acting "goofy." Consequently, JOHN #1



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        was unable to get the condom all the way on, and JOHN #1 claimed that he and C.H. did

        not have any sexual contact.

                                         Interview of John #2

        8.     On April 15, 2014, JOHN #2 provided the following information to law

        enforcement:

               a.      JOHN #2 stated that he rode with his friend, JOHN #1, to the motel on

        Biscayne Boulevard because JOHN #1 was interested in a female who resided there.

        JOHN #2 knew the female as "Kay" (identified by law enforcement as SINGLETARY).

        When JOHN #2 and JOHN #1 arrived at the motel room to see SINGLETARY,

        SINGLETARY was accompanied by another female (identified by law enforcement as

        C.H.). Initially, the group smoked marijuana in the motel room, and then JOHN #2 and

        JOHN #1 took SINGLETARY to a store at a gas station. SINGLETARY also wanted

        JOHN #1 to take her somewhere else, and she told JOHN #1 that instead of paying for

        JOHN #1 's gas, both JOHN #1 and JOHN #2 could have sex with C.H.

               b.      When they returned to the motel room from the gas station, JOHN #1 and

        C.H. went into the bathroom together. A short time later, they exited the bathroom, and

        then JOHN #2 went into the bathroom with C.H.       JOHN #2 stated that he planned to

        have intercourse with C.H.; however~ he could not get aroused. Instead, C.H. performed

        oral sex on JOl-IN #2.

                    Search of Cellular Telephones Recovered from Motel Room #62

        9.     During the knock-and-talk at the motel room on April 15, 2014, three cellular

        telephones were present in the motel room. SINGLETARY identified a black iPhone to

        be her personal cellular telephone, and she identified a white iPhone to be a cellular

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         telephone that she purchased and gave to C.H to use. Also in the room was a black

         Samsung cellular telephone, which SINGLETARY and C.H. both identified as the

         "business phone." During the interview of SINGLETARY, SINGLETARY provided

         consent for agents to search all three cellular telephones. A search of SINGLETARY's

         personal telephone revealed several Facebook messages between SINGLETARY and the

         account profile belonging to C.H., which was under the name "Low'Key Kerria." The

         messages   revealed   conversations    related   to   C.H.   residing   and   working    for

         SINGLETARY. Specifically, SINGLETARY sent a message to C.H. which stated "U

         gone get on back page so we can get furniture u can have yo own room." Further

         investigation revealed that SINGLETARY's cellular telephone contained numerous

         photographs of C.H posing in a bra and underwear.

         I 0.   Further investigation also revealed that the telephone number associated with the

        "business phone" was (786) 663-6818, which was the telephone number listed on the

         Backpage advertisements for C.H.

                                              CONCLUSION

         11.    Wherefore, based upon the facts described above, your affiant respectfully

        submits that there is probable cause to believe that SINGLETARY knowingly recruited,

        enticed, harbored, transported, provided, obtained or maintained by any means a person,

        that is C.H., knowing or in reckless disregard of the fact that any person, that is C.H., had

        not attained the age of eighteen years old and would be caused to engage in a commercial

        sex act, which is in violation ofTitle 18, United States Code, Section 159l(a)(l). The

        facility and means of interstate commerce include, but are not limited to, the use of

        cellular telephones and websites, such as Facebook.com and Backpage.com, that were

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         utilized to recruit and advertise C.H. for purposes of prostitution. I therefore respectfully

         request that the attached criminal complaint be issued charging SINGLETARY with the

         above-described offense.

         12.    It is respectfully requested that this Court issue an order sealing, until further

         order of the Court, all papers submitted in support of this Complaint, including the arrest

         warrants.   I believe that sealing this document is necessary because the items and

         information to be seized are relevant to an ongoing investigation. Premature disclosure

         of the contents of this affidavit and related documents may have a significant and

         negative impact on the continuing investigation and may severely jeopardize its

         effectiveness.

         FURTHER YOUR AFFIANT SAYETH NAUGHT.




                                       SPECIAL AGENT SUSAN F. ROMASH
                                       FEDERAL BUREAU OF INVESTIGATION




         SUBS~IBED and SWORN to before me
         this    day of August, 2014, in Mi      ·,   orida.




         JO  THAN GOODMAN
         UNI ED STATES MAGISTRATE JUDGE
         SO THERN DISTRICT OF FLORIDA




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